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                        IN TIIE UMTED STATES DISTRICT COURT

                            DISTRICT OF UTAII, CENTRAL DIVISION


JOLENE GARNER"                                              COMPLAINT

                   Plaintiff,
                                                           Case no: 2:10-cv-00965-CW

ASSET MANAGEMENT ASSOCIATES,
INC., a corpo.ation
                        &                                   JURY TRIAL DEMANDEI)
THERESA SHEFFIELD, individually,

                  Defendanls.

                                        INTRODUCTION

       1.      This is an action for damages brought by an individual consumer for Defendants'

violations ofthe federal Fair Debt Collection Practices   Ac! l5 U.S.C. $ 1692, et seq.   Qrcrdrlraftet

"FDCPA).

                                      II. JURISDICTION

       2.      Plaintiffs claim for violations ofthe FDCPA      arises   undq   15 U.S.C. $ 1692k(d),

and thereforc involves a "federal question" Nrsuant to 28 USC $ I 33 I .
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                                           III.   PARTIES


        3.      Plaintiff, Jolene Gamer C'Plaintiff), is a natnral person residing in Salt Lake

County, Utah.

        4.      Defendant Asset Management Associates,             lnc., ("Defendant Asrt") is       a

corporation engaged in the business of collecting debts by use          of the mails and   telephone.

Defendant Asset regularly attempts to collect debts alleged due another.

        5.      Defendant Theresa Sheffreld ("Defendant Sheffield")         is, on iDformation    and

belief, the chiefexecutive ofAsset Management Associates, Inc., and is engaged in the business

of cotlecting debs by use of the mails and telephone. Defendant Shelfield rcgularly attempts to

collect debts alleged to be due another.

                                    ry. FACTUAL ALLEGATIONS
       6.       Defcndants are each a "debt collector" as defined by the FDCPA, 15 U.S.C.            $


1692a(6\.

       7.       Plaintiffis a'tonsumer"    as defined by the   FDCPA, l5 U.S.C. $ 1692a(3).

       8.       All activities ofDefendants   set out herein were undertaken in connection    with the

collection ofa "debt," as defined by 15 USC $ 1692a(5).

       9,       Within the last year, Defendants took multiple actions in an attempt to collect a

debt from Plaintiff. Defendants' co[duct violated the FDCPA in multiple ways, including the

following.

        10.     Using unfair or unconscionable means against Plainriff in connection with an

attempt lo collect a debt, including Defendants attempting to clllect a debt from Plaintill without

first obtaining a license as required by Utah law ($ 1692f)).
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            1   1.   In connection with an attempt to collect an alleged debt fiom Plaintif, contacting

a third party for puposes other than obtaining location information, including Defendant Asset

contacting Plaintiffs ex-husband and employer for purposes other than obtaining localion

infomration ($ 1692b & $ 1692c(b));

            12-      Threatening to take an action against Plaintiff that cannot be legally taken or that

was oot actually intended to b€ taken, including Defendant Ass€t theatening to continue calling

Plaintiff at work after Plailtiff specifica.lly requested that all calls cease to her workplace. In

response to      Plaintifs   request not to receive calls at work, Defendant Asset stated that Defendant

Asset can call Plaintilf an].\xhere      it likes b€cause Plaintiff   owes money. Defendant Asset has

also threatened to gamish wages without the benefit        ofajudgment $ 1692e(5) & $ 1692e(10));

            13.      Engaging in conduct the nahrral consequence of which is to harass, opprcss, or

abuse Plainliff, including Deferdant Asset attempting           to intimidate and harass Plaintitr into

paying the debt by calling third padies ard threatening to continue to do so, by Defendant Asset

accusing Plaintiff of lying, by Defendant Asset making false th(eats and by Defendant Ass€t

using rude and abusive language and tones in conversatior with Plaintiff($ 1692d).

            14.      As a result of the aforementioned violations, Plaintiff sulIercd ard continues to

suffer injuries to Plaintiffs feelings, personal humiliation, embarassment, mental anguish and

severe emotional distress.

            15.      Defendants intended to cause, by means ofthe actions detailed above, injuries to

Plaintifls feelings, personal humiliation, embanassmen! mental anguish and            sev€re emotional

distress,

        16,          Defendafis' actioN, detailed atrove, were uldertaketr with extraordinary
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disregard of, or indifference to, known or highly probable risks to purported debtors,

        17,    To the extent Defendants' actions, detailed in paragr4phs 9-13, were caried out

by an employee of Defendants, that employee was acting within the scope of his or her

employment.

       COUNT I: VIOLATION OF FAIR DEBT COLLECTION PRACTICES ACT

        l.     Plaintiffreincoryomtes by refercnce all ofthe preceding pamgraphs.

       2.      TlJ€ preceding paragraphs state a pfima facie cas€       for Plaintiff and agahst

Defendants for violations   of the FDCPA, $$ 1692f, 16924 1692e(10), 169245),            1692b A.

1692c(b).

                                    PRAYER TOR RELINF

       WHEREFORE, Plaintiff resp€ctfully prays that judgment be entercd against the

Defendants for the fotlowing:


       A.      Declaratoryjudgrrent that Defendants' conduct violated the FDCPA;

       B.     Actual damages pursuant to 15 USC 1692k;

       C.     Statutory damages pursuant to 15 U.S.C. $ 1692k;

       D.     Cosls, disbursements and reasonable attomey's fees for all successfirl claims, and

any unsuccessfirl clairns arising out of the sarne transaction or occurrence as the successfirl

claims, pursuant to l5 U.S.C. $ 1692k; and,

       E.     For such other and further reliefas may bejust and proper.
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              PLAINTIFF EEREBY REOUESTS A TRIAL BY JTJRY




           Dated this 306 day of Sept€Nnb€r, 2010.


                                                        GROI'P, P,C.




PLAINTII'tr'S ADDRESS
Draper, UT
